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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     July 6, 2021

Dani Jahn, Esq.
Federal Public Defender for the District of Columbia
625 Indiana Ave., N.W., Suite 550
Washington, DC 20004

       Re:     United States v. Patrick Montgomery
               Case Number: 21-cr-046

Dear Ms. Jahn:

       This letter is notify you of discovery that has been produced via the USAFx folder
labeled, “DISCOVERY: Patrick Montgomery.” The new items are provided in a sub-folder
labeled, “FAST-TRACK Discovery_07.06.2021.”

     Summary of Materials Provided. The materials provided are Bates stamped
CAP04_000013878 to CAP04_000015370, as documented in the enclosed index.

        Manner of Production. Please be sure to download the entire USAFx folder, including
all subfolders and files contained within the subfolders exactly as it was provided immediately
upon receipt to your own storage media. The USAFx materials will be deleted automatically in
60 days.

       This production contains the following:
       • A “PDF” folder containing the discovery in searchable PDF format.
       • A “NATIVE” folder of documents that cannot be converted to PDFs such as
       audio/video recordings. Files that could not be converted to PDF will have a
       “placeholder” in the “PDF” folder that references the native file. You will find the
       referenced file by navigating to the corresponding Bates number in the NATIVE folder.
       • An index of the production, provided in both Excel and Adobe PDF formats.

If you would like this production in load files for creating a document review database (e.g.,
Relativity) please let me know and we will provide load files.
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       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       Technical Assistance. Assistant Federal Public Defenders with technical discovery
questions or those who are in need of assistance managing the discovery in this case can contact
Kelly Scribner (kelly_scribner@fd.org) with the Defender Services Office - National Litigation
Support Team.

        Voluminous Materials. Due to the extraordinary nature of the January 6, 2021 Capitol
Attack, the government anticipates that a large volume of materials may contain information
relevant to this prosecution. These materials may include, but are not limited to, surveillance
video, body worn camera footage, statements of similarly situated defendants, forensic searches
of electronic devices and social media accounts of similarly situated defendants, and citizen tips.
The government is working to develop a system that will facilitate access to these materials. In
the meantime, please let me know of any specific information that you believe is particularly
relevant to your client.

        Protective Order. This material is subject to the terms of the Protective Order issued in
this case. Certain materials are designated Sensitive or Highly Sensitive and these designations
are clearly noted on the provided index.

        Timing of Disclosures. I recognize the government’s discovery obligations under Brady
v. Maryland, 373 U.S. 83 (1963), its progeny, and Rule 16. I will provide timely disclosure if
any such material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will
provide information about government witnesses prior to trial and in compliance with the court’s
trial management order.

         Reciprocal Discovery. I request reciprocal discovery to the fullest extent provided by
Rule 16 of the Federal Rules of Criminal Procedure, including results or reports of any physical
or mental examinations, or scientific tests or experiments, and any expert witness summaries. I
also request that the defendant disclose prior statements of any witnesses the defendant intends to
call to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S.
255 (1975). I request that such material be provided on the same basis upon which the
government will provide defendant with materials relating to government witnesses.

        Notice of Defenses. Additionally, pursuant to Federal Rules of Criminal Procedure 12.1,
12.2, and 12.3, I request that defendant provides the government with the appropriate written
notice if defendant plans to use one of the defenses referenced in those rules. Please provide any
notice within the time period required by the Rules or allowed by the Court for the filing of any
pretrial motions.




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        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,


                                                    /s/ Elizabeth Kelley
                                                    ELIZABETH KELLEY
                                                    Assistant United States Attorney




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